 Case 1:18-cv-00616-GJQ-ESC ECF No. 11 filed 06/28/18 PageID.278 Page 1 of 3



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

JANE DOE MJ                                  )   Case No. 1:18-cv-00616-GJQ-ESC
                                             )
                               Plaintiff,    )
                                             )   Hon. Gordon J. Quist
v.                                           )
                                             )
MICHIGAN STATE UNIVERSITY,                   )
et al.,                                      )
                                             )
                               Defendants.   )
                                             )
                                             )

         STIPULATED ORDER TO ADJOURN DEADLINE TO RESPOND TO
                             COMPLAINT

         Plaintiff, by their undersigned attorneys, and Defendants Michigan State

University, Michigan State University Board of Trustees, Michigan State University

Sports Medicine Clinic, Kathie Klages, Dr. Jeffrey Kovan, Dr. Douglas Dietzel, and

Destiny-Teachnor-Hauk, (collectively the “MSU Defendants”) by their undersigned

attorneys, state as follows:

         The parties stipulate that the deadline for the MSU Defendants to respond to the

complaint by way of answer or otherwise, is adjourned for 60 days from the date of this

order.
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SO ORDERED, on this 28th day of June, 2018

                           BY:

                                         ______________________________________
                                             /s/ Gordon J. Quist
                                                      Hon. Gordon J. Quist
                                                      U.S. District Judge

STIPULATED BY:

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                                                 Douglas Dietzel, and Destiny Teachnor-
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                                             2
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